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     Attorney for GREGORY WATERS
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8                               UNITED STATES DISTRICT COURT
9
                                       DISTRICT OF NEVADA
10

11

12   UNITED STATES OF AMERICA,                        Case No.: 2:15-CR-80 JCM-VCF

13                 Plaintiff,

14   vs.                                              STIPULATION TO CONTINUE
                                                      DEADLINE TO FILE REPLY TO
15
     GREGORY WATERS,                                  MOTION TO VACATE [74,76]
16
                   Defendant.
17

18
                   IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas
19
     Trutanich, United States Attorney, through Elizabeth O. White Assistant United States Attorney,
20
     counsel for the United States of America, and Lisa Rasmussen, counsel for Gregory Waters as
21
     follows:
22
                   1. Mr. Waters would like an additional seven (7) days to file his Reply to the
23
                       Motion to Vacate.
24
                   2. The government is not opposed to this request for a seven-day extension of
25
                       time.
26
                   3. The reply is due on today’s date and this stipulation is timely entered.
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28
     STIPULATION TO CONTINUE DEADLINE TO FILE REPLY TO MOTION TO VACATE [74,76] - 1
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1
                  4. This request for a seven-day is not made for the purpose of delay, but rather is
2
                      requested to provide counsel for Mr. Waters additional time to review the
3
                      government’s response and to conduct additional research.
4
           IT IS SO STIPULATED.
5
           Dated this 16th day of July 2020.
6

7
     WILDEVELD & ASSOCIATES,
8
           /s/ Lisa A. Rasmussen
9    _______________________________
10   LISA A. RASMUSSEN, ESQ.
     Counsel for Gregory Waters
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12
     NICHOLAS TRUTANICH
13   United States Attorney

14         /s/ Elizabeth O. White
15   ____________________________________________
     By: Elizabeth O. White, AUSA
16   Counsel for the United States
17

18
                                               ORDER
19
           Upon the stipulation of the parties, and good cause appearing,
20

21
           IT IS HEREBY ORDERED that the deadline for Defendant to file his Reply

22   to the Motion to Vacate [ECF 74] is hereby extended to the 23rd day of July, 2020.

23

24         DATED: _____________
                  July 17, 2020.                ________________________________________
                                                The Honorable James C. Mahan
25
                                                United States District Judge
26

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28
     STIPULATION TO CONTINUE DEADLINE TO FILE REPLY TO MOTION TO VACATE [74,76] - 2
